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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 MMR CONSTRUCTORS, INC.,                                  CIVIL ACTION NO.: 22-CV-267

         Plaintiff,                                       JUDGE BRIAN A. JACKSON

 VERSUS                                                   MAGISTRATE JUDGE
                                                          RICHARD L. BOURGEOIS, JR.
 JB GROUP OF LA, LLC D/B/A
 INFRASTRUCTURE SOLUTIONS
 GROUP, et al.,

         Defendants.


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                           DECLARATION OF ERIN FONACIER
                       IN SUPPORT OF ISG’S MOTION TO COMPEL

       Erin Fonacier, pursuant to 28 U.S.C. §1746, states under penalty of perjury that the

following is true and correct:

       1.      My name is Erin Fonacier. I am an attorney for Defendants, JB Group of LA, LLC,

d/b/a Infrastructure Solutions Group, Jason Yates, Travis Dardenne, David Heroman and Michael

Lowe (collectively “ISG”) in the above-entitled case.

       2.      I am over the age of eighteen (18) years and am fully competent to testify herein. I

have knowledge of and am familiar with facts set forth herein, and I swear that all the facts and

statements contained in this Declaration are true and correct and are based on my personal

knowledge.

       3.      I submit this declaration in support of ISG’s Motion to Compel.
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                                         History of Discovery

       4.       On July 29, 2022, ISG propounded its First Set of Interrogatories and Requests for

Production, to which MMR Constructors, Inc. (“MMR”) responded on September 12, 2022. A

true and correct copy is attached as Exhibit A.

       5.       On March 30, 2023, ISG provided amended interrogatories to address MMR’s

alleged previous concerns. Specifically, ISG noted MMR’s objections to ISG’s First Set of

Interrogatories and provided Amended Interrogatories 5, 6, 9, 10, 13, 14, 15, 16, 17 and 18.

Responses were issued by MMR on these Amended Interrogatories on May 10, 2023. A true and

correct copy is attached as Exhibit B.

       6.       On April 20, 2023, ISG propounded a Second Set of Requests for Production to

MMR, to which MMR responded on June 5, 2023. A true and correct copy is attached as Exhibit

C.

       7.       On September 18, 2023, ISG propounded its Third Set of Requests for Production

to MMR, which MMR responded on November 1, 2023, with supplemental responses on January

23, 2024. A true and correct copy is attached as Exhibit D.

       8.       On September 18, 2023, Jason Yates also propounded First Set of Interrogatories

to MMR, to which MMR responded on November 1, 2023. A true and correct copy is attached

as Exhibit E.

       9.       On May 2, 2024, ISG propounded its Fourth Set of Requests for Production to

MMR, to which MMR responded on June 3, 2024. A true and correct copy is attached as Exhibit

F.

       10.      On May 17, 2024, ISG propounded its Fifth Set of Requests for Production to MMR

to which MMR responded on June 17, 2024. A true and correct copy is attached as Exhibit G.




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        11.     On, May 23, 2024 ISG propounded its Sixth Set of Requests for Production to

MMR, to which MMR responded on June 24, 2024. A true and correct copy is attached as Exhibit

H.

                            ISG’s Efforts to Obtain Discovery from MMR

        12.     MMR has objected to every single one of ISG’s discovery request with boilerplate

objections that are at best meaningless and at worst obstructive. Despite the numerous attempts

by ISG, detailed below, to urge MMR into taking this discovery seriously, MMR refuses to even

agree to search for responsive documents. Three years into a case that MMR itself filed, these

actions are evasive and well below the threshold of their responsibilities under the Federal Rules.

        13.     In its March 30, 2023 letter, ISG informed MMR that they had yet to provide a

substantive response and complete responses to ISG’s First set of Interrogatories and Requests for

Production and requested same along with ISG’s Amended Interrogatories. A true and correct copy

is attached as Exhibit I.

        14.     On or about April 18, 2023, and again on May 27, 2023, the parties held two meet

and confers on all outstanding discovery and other issues between the parties.

        15.     In two letters dated September 12, 2023, ISG reminded MMR of their previously

agreed upon obligations, during the meet and confers, to provide full and complete responses to

ISG’s Amended Interrogatories and pointed out deficiencies in MMR’s ISG’s Second Set of

Requests for Production. True and correct copies are attached as Exhibit J.

        16.     After the exchange of correspondence seeking updates from MMR on production,

on or about November 17, 2023, the parties had another meet and confer relative to the outstanding

discovery and other pending issues.




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       17.     On January 23, 2024, all counsel participated in a discovery call wherein a global

deposition schedule was agreed upon. Eighteen dates between February and May 2024 were set

aside for any party to notice depositions which were memorialized via email correspondence. No

depositions were scheduled during this time. A true and correct copy is attached as Exhibit K.

       18.     Most recently, after propounding new discovery in May and early June, 2024, ISG

made numerous attempts to notify MMR of their deficient discovery responses and give them the

opportunity to remedy them.

       19.     For example, in an e-mail dated August 1, 2024, counsel for ISG reiterated the need

for a resolution on document issues before depositions of MMR officers and employees were to

be taken. MMR counsel neglected to provide a response on that point, only commenting as to

their stance on the depositions that MMR wanted to take. A true and correct copy is attached as

Exhibit L.

       20.     On August 19, 2024, ISG and MMR conducted a zoom call to discuss impending

pleadings between the parties, depositions, and outstanding discovery.

       21.     Despite assurances that supplemental discovery was forthcoming, MMR failed to

provide meaningful responses to the ever-growing list of discovery requests that remain

substantially unanswered.

       22.     This lack of response led ISG to send a follow up letter on August 20, 2024,

detailing and reminding MMR of certain deficiencies in their responses and objections to the

discovery demands requested in this Motion to Compel. A true and correct copy is attached as

Exhibit M. As described in specific detail in the deficiency letter, MMR’s discovery responses

contained incomplete, non-responsive, or evasive answers.




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